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                         Exhibit D
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                                                                             HUNTON ANDREWS KURTH LLP
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                                                                             KEVIN S. ELLIKER
                                                                             DIRECT DIAL: 804 • 788 • 8656
                                                                             EMAIL: kelliker@HuntonAK.com

     June 13, 2023                                                           FILE NO: 099997.0007105



     VIA OVERNIGHT DELIVERY AND E-MAIL

     Pipe Hitter Foundation, Inc.
     9502 Hale Place
     Silver Spring, MD 20910

            c/o The Arland Affiliation
            Registered Agent
            72 Sara Circle
            Santa Rosa Beach, FL 32459

     info@pipehitterfoundation.org

     Re:    Demand to Cease and Desist Publication of Photographs of Baby Doe and Defamatory
            Statements Regarding John and Jane Doe, Baby Doe, et al., v. Joshua Mast, et al., No.
            3:22-cv-49 (W.D. Va.)

     To Whom It May Concern:

     In its haste to generate financial support for Joshua and Stephanie Mast, the Pipe Hitter
     Foundation has aided and abetted the violation of a federal court’s protective order and
     defamed an Afghan couple seeking the return of the child they raised as their own for 18
     months. The Pipe Hitter Foundation must immediately cease and desist using photographs of
     that child and refrain from making any further defamatory statements.

     This law firm represents John and Jane Doe, plaintiffs in the above-listed action. That federal
     lawsuit alleges that Joshua and Stephanie Mast, along with their brother Richard and two
     other defendants, conspired to lure John, Jane, and Baby Doe to the United States under false
     pretenses so that Joshua and Stephanie could abduct Baby Doe using adoption papers likewise
     obtained through fraud.

     On September 13, 2022, the Court entered a Protective Order that prohibited all defendants,
     including Joshua and Stephanie Mast, and “their representatives” from “directly or indirectly
     identif[ying] Plaintiffs or their family members to any person.” The Protective Order


                 ATLANTA AUSTIN BANGKOK BEIJING BOSTON BRUSSELS CHARLOTTE DALLAS DUBAI HOUSTON
              LONDON LOS ANGELES MIAMI NEW YORK RICHMOND SAN FRANCISCO TOKYO TYSONS WASHINGTON, DC
                                                 www.HuntonAK.com
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     specified that this language included “minor Plaintiff Baby Doe.” A copy of the Protective
     Order is enclosed.

     Demand to Cease and Desist from Violations of the Protective Order

     It has come to our attention that your website (www.pipehitterfoundation.org) displays several
     photographs that, if obtained from the defendants or their family, associates, attorneys, or
     representatives, may not be published under the Protective Order. For example, under the
     banner “Who We Support” on your landing page appears a photograph of Baby Doe with
     defendant Joshua Mast above the caption “The Mast Family.” Following the link beneath the
     image leads to a page titled “The Mast Family.” That page contains the first photograph
     along with three other photographs of Baby Doe—including one showing her sitting next to
     Stephanie Mast. The bottom of that page displays a “Donate” link, which leads to a
     fundraising page at titled “Help the Masts” (www.donorbox.org/help-the-masts). That page
     shows the photo of Baby Doe with Stephanie Mast above a solicitation for donations from
     Eddie Gallagher, Director of Operations for the Pipe Hitter Foundation.

     The Pipe Hitter Foundation also has published photographs of Baby Doe through its
     Instagram account (@pipe_hitter_foundation). On May 11, 2023, a post to that account
     included what appears to be a photograph of Baby Doe with her face partially obscured by a
     digital “sticker.” The same photo appears on an Instagram “highlight” titled “The Mast
     Foundation,” with the caption “Help the Mast Family!” and a link to the “The Mast Family”
     page described above. That photo appears again on the Pipe Hitter Foundation’s Facebook
     page in a May 11, 2023 post. And your founders, Eddie and Andrea Gallagher, published the
     same image in a joint post to their own Instagram accounts (@eddie_gallagher and
     @andrea_gallagher_), making no effort to obscure her face and encouraging their hundreds
     of thousands of followers to visit the Pipe Hitter Foundation’s website supporting the Masts.

     In total, the Pipe Hitter Foundation and its founders have published Baby Doe’s photograph
     eleven times, including six instances that show her face. The Pipe Hitter Foundation must
     remove these photos immediately. The Masts’ dissemination of Baby Doe’s identity to the
     Pipe Hitter Foundation violates the Court’s Protective Order, and the Pipe Hitter Foundation
     may be found to have aided and abetted that violation by disseminating it further. See Tattoo
     Art, Inc. v. Tat Int’l, LLC, 2012 WL 3912572, at *3 (E.D. Va. Sept. 7, 2012) (recognizing that
     a federal district court’s “jurisdiction is properly extended when nonparties with actual notice
     of the court’s order actively aid and abet a party in violating that order”) (cleaned up).

     Again, we emphasize that the Pipe Hitter Foundation must remove these photographs
     immediately from its website and social media accounts—and anywhere else they may have
     been distributed or shared. Given the apparent violation of the Court’s Protective Order, we
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     reserve the right to seek discovery and/or judicial intervention, including the imposition of
     sanctions and award of attorney’s fees, and this letter should not be understood as a waiver of
     any arguments we may make in that regard.

     Demand to Cease and Desist Defamatory Statements

     On top of the Protective Order violation, the Pipe Hitter Foundation’s description of our
     clients contains defamatory statements. On “The Mast Family” page, you write in reference
     to John Doe that he “previously made statements saying the child did not live with him or his
     family and was aware that the Mast’s [sic] were legally responsible for her” but that he
     “changed his tune” while he “was interrogated by federal agents for terrorist activity in Major
     Mast’s presence.” You further describe John and Jane Doe as “an Afghan couple with
     terrorist ties who are making allegations to shift scrutiny off themselves.”

     These statements are false, malicious, and made with the express intent of discrediting and
     impugning the reputations of John and Jane Doe. John Doe did not “make statements saying
     the child did not live with him or his family,” he was not aware that the Masts claimed to have
     any legal parental rights, he did not “change his tune” on those points at any time, and most
     importantly, neither John or Jane have “terrorist ties” or associations with militant groups.
     And they certainly have not willingly engaged on multiple fronts in the American judicial
     system to get Baby Doe back so that they can “shift scrutiny off themselves.” The Pipe Hitter
     Foundation’s irresponsible and defamatory statements may be actionable under Florida law.
     See, e.g., Sirer v. Aksoy, 2023 WL 3166453, at *8 (S.D. Fla. May 1, 2023) (awarding more
     than $3 million in general, special, and punitive damages “for the reputational and emotional
     damage caused by Defendant’s assertion that Plaintiff is affiliated with a terrorist
     organization”). The Pipe Hitter Foundation must remove these statements from its websites
     and refrain from any further defamatory characterizations of John and Jane Doe.

     Demand to Preserve Documents and Electronically Stored Information

     This letter further serves as a demand by Plaintiffs, by and through their attorneys and
     pursuant to all applicable or potentially applicable rules of civil procedure, that the Pipe Hitter
     Foundation and its employees, officers, directors, and agents preserve all hard-copy
     documents, tangible things, and digitally and/or electronically stored information (ESI) that is
     potentially relevant to all claims, defenses, or issues related to the above-discussed matters.
     We define ESI, consistent with the potentially applicable rules of civil procedure, as including
     any and all potentially relevant information stored electronically, digitally, magnetically, or
     optically.
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     Any and all communications between the Pipe Hitter Foundation and the Masts (including
     their family members, attorneys, or representatives), or relating in any way to the Masts
     and/or Baby Doe, must be preserved in accordance with this letter. You must also act
     diligently and in good faith to secure and audit compliance with this letter, and you are also
     required to immediately identify and modify or suspend features of devices of systems that, in
     routine operation, operate to cause the loss of potentially relevant ESI (e.g., auto-delete
     features on email, text messages, etc.). The failure to immediately take these steps will
     constitute spoliation of evidence. We reserve the right to pursue all available remedies in
     enforcing the preservation of evidence to the extent needed.

                                            *      *       *

     If you contend that, notwithstanding the Protective Order, you are authorized to publish
     photographs of Baby Doe, please provide us with documentation so authorizing. Likewise, if
     you contend that the statements regarding John and Jane Doe identified above are true, please
     provide us with documentation pertaining to those allegations. If there is some explanation
     for the Pipe Hitter Foundation’s conduct and statements related to these matters, we are
     willing to consider it.

     Sincerely,



     Kevin S. Elliker

     Enclosure
